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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                          CIVIL ACTION NO. 6:16-cr-00025-04

 VERSUS                                            JUDGE WALTER

 JEREMY TYLER (04)                                 MAGISTRATE JUDGE HANNA

                                        JUDGMENT

        This matter was referred to United States Magistrate Judge Patrick J. Hanna for report

 and recommendation. After an independent review of the record, and noting the absence of

 any objections, this Court concludes that the Magistrate Judge’s report and recommendation

 is correct and adopts the findings and conclusions therein as its own. Accordingly,

        IT IS ORDERED, ADJUDGED, AND DECREED that, in accordance with the

 terms of the plea agreement filed in the record of these proceedings, the guilty plea of the

 defendant, Jeremy Tyler, is ACCEPTED and he is finally adjudged guilty of the offense

 charged in Count One of the bill of information, consistent with the report and

 recommendation.

        Signed at Shreveport, Louisiana, this 8th day of March, 2017.
